Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 1 of 29




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-81143-CIV-MIDDLEBROOKS

   777 PARTNERS LLC and
   SUTTONPARK CAPITAL LLC,

                  Plaintiffs,

   v.

   LEADENHALL CAPITAL PARTNERS LLP,
   LEADENHALL LIFE INSURANCE LINKED
   INVESTMENT FUND PLC, NOAH DAVIS,
   SAIPH CONSULTING LLC, and
   PAUL KOSINSKI,

               Defendants.
   _________________________________________/

                         AMENDED COMPLAINT AND JURY DEMAND

          Plaintiffs 777 Partners LLC and SuttonPark Capital LLC allege against Defendants

   Leadenhall Capital Partners LLP, Leadenhall Life Insurance Linked Investments Fund PLC, Noah

   Davis, Saiph Consulting LLC, and Paul Kosinski as follows.

                                          INTRODUCTION

          1.      This action concerns defendants’ repeated brazen and unauthorized intrusions into

   Plaintiffs’ proprietary computer networks, in violations of the Computer Fraud and Abuse Act, 18

   U.S.C. § 1030, as well as the related theft of computer equipment and unauthorized obtainment of

   Plaintiffs’ electronic information. As background context for this action, 777 Partners LLC (“777

   Partners”) and SuttonPark Capital LLC (“SuttonPark” and collectively with 777 Partners,

   “Plaintiffs”) are currently engaged in litigation initiated by Leadenhall Capital Partners LLP and

   Leadenhall Life Insurance Linked Investments Fund PLC (collectively “Leadenhall”) in the U.S.

   District Court for the Southern District of New York (“SDNY”) regarding a credit facility that


                                                                                         SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 2 of 29




   Leadenhall provided to SuttonPark and its affiliates supported by a conditional guaranty from 777

   Partners (the “Leadenhall Litigation”). In the Leadenhall Litigation, Leadenhall has made

   explosive claims against Plaintiffs, including for civil RICO, and which Plaintiffs are vigorously

   contesting, accusing Plaintiffs of engaging in fraud in connection with that credit facility. The

   allegations contained herein, however, which are backed up by extensive computer forensic and

   other evidence, demonstrate that it is defendants that have engaged in fraud and dishonest conduct

   apparently intended to benefit Leadenhall in its SDNY litigation against Plaintiffs.

           2.      Through the terms of the credit facility with SuttonPark, Leadenhall claims to be

   entitled to certain limited access rights to SuttonPark’s business records, in order to audit collateral

   pledged under the credit facility. When Plaintiffs acquiesced, Leadenhall conveniently chose to

   hire Saiph Consulting LLC (“Saiph”) to perform these audits, which Leadenhall knew was founded

   and managed by SuttonPark’s former senior executive, Defendant Paul Kosinski (“Kosinski”), and

   which just so happened to also employ 777 Partners’ former head of information technology

   (“IT”), Defendant Noah Davis (“Davis”).

           3.      During the course of performing this audit work for Leadenhall, and improperly

   utilizing access credentials as well as extensive knowledge of Plaintiffs’ computer systems and

   their operations and procedures, on multiple occasions Davis illegally and brazenly accessed

   Plaintiffs’ computer networks without permission and obtained electronic files containing

   proprietary and confidential information. During these intrusions, Davis accessed a variety of

   computer databases and other repositories of information belonging to 777 Partners that he

   believed might prove useful to Leadenhall, related to the audit work and the Leadenhall Litigation.

   Davis further copied information contained on those systems, including information potentially

   useful in the Leadenhall Litigation, as well as secretly granting himself administrator level access


                                                     -2-
                                                                                              SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 3 of 29




   to a number of those systems. Davis specifically targeted a file containing the stored electronic

   communications of Steven W. Pasko—a co-founder and former managing partner of 777 Partners

   and one of the individual defendants in the Leadenhall Litigation.

           4.      Because of Davis’s knowledge of Plaintiffs’ computer systems and his

   unauthorized grant to himself of administrator level access, the full extent of his activities within

   777 Partners’ systems, including the actual number of illegal intrusions, what additional

   information he may have reviewed, copied, altered, or otherwise interfered with, and for what

   purposes, is not, and may never be, fully known.

           5.      Additionally, not satisfied with merely making virtual intrusions onto Plaintiffs’

   property, Davis was later captured on video surveillance cameras breaking into SuttonPark’s

   offices, without permission, and stealing several laptop computers belonging to 777 Partners,

   likely to further access confidential and propriety information belonging to 777 Partners. Saiph

   subsequently confirmed in writing that Davis had engaged in this improper physical access.

   Moreover, in doing so, Saiph intriguingly let slip the involvement of Leadenhall by referencing it

   by name in the first version of this correspondence sent to 777 Partners’ counsel, before quickly

   sending a second version that was otherwise substantively identical but for removal of the

   reference to Leadenhall.

           6.      On information and belief and based on: (i) Leadenhall’s aggressive actions and

   litigation tactics against 777 Partners; (ii) the targeted access to and attempt to transfer the Outlook

   365 file saved on Mr. Pasko’s laptop; (iii) targeting of a laptop and One Drive folders of an

   employee of a non-party affiliate likely to have information that Leadenhall had been

   unsuccessfully seeking; (iv) the timing of at least one intrusion that occurred just prior to an

   important hearing in the Leadenhall Litigation; (v) Leadenhall’s insistence on retaining Saiph


                                                     -3-
                                                                                              SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 4 of 29




   specifically, which possessed significant proprietary knowledge about 777 Partners’ operations

   and computer systems, through its founder, Kosinski, and other employees or agents, in spite of

   Plaintiffs’ vigorous objections; (vi) the agency relationships between Leadenhall and Saiph,

   Kosinski, and Davis; (vii) claims concerning a non-existent payment dispute between Davis and

   Plaintiffs; and (viii) Saiph’s inadvertent acknowledgment of Leadenhall’s relationship to these

   intrusions, it is reasonable to conclude that the foregoing acts were performed for Leadenhall’s

   benefit, and with Leadenhall’s implicit or explicit encouragement, if not involvement.

                                               PARTIES

   Plaintiffs

          7.      Plaintiff 777 Partners is a Miami-based private investment firm organized as a

   limited liability company under the laws of Delaware, which has its principal place of business at

   100 SE 2nd Street, Suite 2000, Miami, Florida 33131. The company is focused on a range of

   investments in the insurance, aviation, sports, and media sectors.

          8.      Plaintiff SuttonPark is a corporate affiliate of 777 Partners, organized as a limited

   liability company under the laws of Delaware, which had its principal place of business at 2255

   Glades Road, Suite 100E, Boca Raton, Florida 33431. SuttonPark is a wholesale aggregator and

   servicer of structured settlements with an expertise in sourcing, underwriting, structuring, and

   servicing of structured settlements, annuities and lotteries, which are considered to be esoteric

   investment grade assets.

   Defendants

          9.      Defendant Leadenhall Capital is a London-based asset management company

   which focuses on granting institutional investors access to insurance-related risks. Leadenhall




                                                   -4-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 5 of 29




   Capital is organized as a limited liability partnership under the laws of England and maintains its

   principal place of business in London, England at Level 15, 70 Mark Lane, London EC3R 7NQ.

          10.     Plaintiff Leadenhall Life Insurance Linked Investment Fund PLC is an investment

   company organized as a public limited company under the laws of Ireland and maintains its

   principal place of business in Dublin, Ireland.

          11.     Defendant Saiph is a consulting firm organized as a limited liability company under

   the laws of Delaware, which has its principal place of business at 1615 S. Congress Avenue, Suite

   103, Delray Beach, Florida 33445. Saiph was formed and is managed by former SuttonPark senior

   executive Kosinski. According to its website, Saiph offers “bespoke financial, operational and

   advisory solutions,” including “Audit Guidance.”

          12.     Defendant Kosinski was formerly a senior executive at SuttonPark, and is the

   founder and managing member of Saiph, and his last known address is 17029 Newport Club Drive,

   Boca Raton, Florida 33496.

          13.     Defendant Davis resides in Boca Raton, Florida and was the head of IT for 777

   Partners until he resigned in April 2024. Davis was subsequently hired by Saiph and was employed

   or contracted to provide services at all relevant times. Upon information and belief, Davis was an

   architect of the MP Fin System, the primary data system used for servicing by SuttonPark.

                                   JURISDICTION AND VENUE

          14.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 because

   Plaintiff asserts claims arising under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, and

   the Stored Communications Act, 18 U.S.C. § 2701. This Court also has supplemental jurisdiction

   over Plaintiffs’ related state-law claims under 28 U.S.C. § 1367.




                                                     -5-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 6 of 29




           15.     This Court has personal jurisdiction over Defendants Saiph, Kosinski, and Davis

   because they are domiciled in Florida.

           16.     This Court has personal jurisdiction over Leadenhall because Leadenhall engaged

   the services of Saiph, whose principal place of business is in Florida, and those services were to

   be rendered within the state of Florida. Further, this Court has personal jurisdiction over

   Leadenhall under Florida’s long-arm statute, because Leadenhall, as alleged herein, in its own

   right and through its agents Saiph, Kosinski, and Davis, committed tortious acts within the state.

           17.     Venue is proper under 28 U.S.C. § 1391(b)(2) because the substantial part of the

   events giving rise to the claims occurred and the property that is the subject of this action are

   situated in the district.

                                     FACTUAL BACKGROUND

           18.     On May 3, 2024, Leadenhall filed the Leadenhall Litigation in the U.S. District

   Court for the Southern District of New York, accusing 777 Partners, its former principals, and

   others of breach of contract and fraud in connection with a secured credit facility provided by

   Leadenhall to 777 Partners. Leadenhall Capital Partners LLP, et ano. v. Wander, et al., 24 Civ.

   3453 (JGK) (S.D.N.Y.).

           19.     Beginning with the allegations contained in its original complaint through the date

   of this amended complaint, Leadenhall has been overly aggressive as to Plaintiffs and their

   affiliates.

           20.     By way of example, while the loans as to which Leadenhall asserts claims of double

   pledging involved two of four borrowers in the SuttonPark business unit, Leadenhall declared the

   other two borrowers’ loans in default and is now seeking RICO treble damages for the full amount

   of the borrowings under those loans.


                                                   -6-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 7 of 29




           21.      Leadenhall moved for preliminary injunctive relief so broad that it would have

   frozen the assets of all worldwide affiliates of Plaintiffs, i.e., dozens of operating companies,

   employing thousands of people on at least four continents.

           22.     Prior to May 3, 2024, in connection with these asserted contractual rights,

   Leadenhall proposed to engage Saiph and its founder, Kosinski, as its agents to perform certain

   audits of SuttonPark. Concerned that Kosinski was a former senior executive of SuttonPark who

   had solicited SuttonPark’s employees to join a competitor, Plaintiffs forcefully objected to this

   proposed engagement. In its complaint in the Leadenhall Litigation, Leadenhall asserted that these

   objections by Plaintiffs were baseless and intended to prevent the uncovering of the fraud

   Leadenhall has alleged. However, subsequent events would later demonstrate that Plaintiffs’ initial

   impression was the right one, and their concerns justified.

           23.     In early May 2024, 777 Partners retained the services of professionals employed

   with B. Riley Advisory Services to assist it with efforts to restructure the various aspects of its

   business including Ian Ratner (“Ratner”), Mark Shapiro (“Shapiro”) and Jim Howard (“Howard”).

           24.     Ratner was appointed as a manager of the holding companies, including 777

   Partners.

           25.     Shapiro was appointed as chief operating officer of the holding companies.

           26.     Howard was installed as an independent monitor for the SuttonPark portion of the

   business.

           27.     In mid-May 2024, a representative of Leadenhall reached out to Ratner to discuss

   Leadenhall’s claimed contractual rights under the credit facility entitling it to certain access to

   SuttonPark’s systems to review and audit the collateral pledged by SuttonPark and its affiliates to

   secure the credit facility.


                                                   -7-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 8 of 29




          28.     In a Sunday, May 19, 2024 letter to Howard, Leadenhall again proposed to engage

   Saiph’s founder, Kosinski, as its representative to perform audits in connection with its asserted

   contractual rights.

          29.     Management of SuttonPark again objected to this proposed engagement due to

   concerns about having Kosinski perform the audit and encouraged Ratner, Shapiro and Howard to

   reject the proposal.

          30.     Nevertheless, due to the insistence of Leadenhall, and based on assurances that the

   review of documents would be strictly limited to those directly pertaining to Leadenhall’s

   collateral, the B. Riley professionals eventually relented.

          31.     Plaintiffs thus provided Saiph, as Leadenhall’s agent, with network credentials

   allowing limited access to SuttonPark’s systems for the limited purpose of a collateral audit.

          32.     Importantly, such credentials were only provided to, and for the use of Kosinski,

   not Davis—and authorized access was limited to the particular database detailing Leadenhall’s

   collateral within MP Fin. MP Fin is the proprietary application used by SuttonPark to manage

   receivables and other assets securing loans from various lenders as well as receivables owned by

   third party clients and serviced by SuttonPark on a fee basis but unrelated to Plaintiffs or any of

   its lenders. Critically, the MP Fin files contain Personal Identifiable Information (“PII”) data

   belonging to various customers and clients of Plaintiffs.

          33.     Kosinski began the audit of Leadenhall’s collateral catalogued in MP Fin on or

   about May 28, 2024.

          34.     Leadenhall, however, was not satisfied with having Saiph and Kosinski audit its

   collateral and began demanding additional information from Plaintiffs to which Leadenhall had no

   contractual entitlement.


                                                    -8-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 9 of 29




          35.     On June 21, 2024, Phil Kane, Principal Trading, Senior Credit Officer for

   Leadenhall, emailed Shapiro and Howard claiming entitlement pursuant to a Loan and Security

   Agreement to information about deals and affiliates of 777 Partners that were not involved in the

   SuttonPark side of the business, the loans advanced by Leadenhall that are the subject of the

   Leadenhall Litigation including information about Brickell PC Insurance Holdings LLC and

   Sutton National Insurance Company (both of which are in the Brickell Insurance Group).

          36.     Additionally, Leadenhall began to inappropriately demand information relating to

   collateral that had been pledged to other lenders, which information Plaintiffs refused to provide.

          37.     Davis, upon information and belief at the behest of or for the benefit of his

   employer’s client, Leadenhall, used his extensive knowledge of Plaintiffs’ systems and its

   practices and procedures, gained during his time as head of IT for 777 Partners, as well as his prior

   777 Partners’ access credentials (which he was no longer entitled to use following his resignation

   from 777 Partners), to gain extensive and unauthorized access into 777 Partners’ systems on

   multiple occasions. However, because of this knowledge, and because of the system authority

   Davis was able to access and grant himself during these illegal intrusions, it is likely that these are

   not the only instances in which Davis improperly accessed Plaintiffs’ systems. Similarly, Plaintiffs

   are as yet unsure of the full extent of Davis’s activities during any such intrusions, including

   copying and/or altering important commercial data.

          38.     Moreover, all of the systems and information belonging to Plaintiffs that Davis

   accessed (some of which was likely altered) would clearly be considered by Leadenhall as useful

   in prosecuting the Leadenhall Litigation against Plaintiffs.

          39.     On June 28, 2024, Davis utilized his former 777 Partners’ email address and

   password (login credentials) to access a security appliance that monitors all of the 777 Partners’


                                                     -9-
                                                                                             SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 10 of 29




   computer systems. Accessing this system allowed Davis full access, via a backdoor, to the web

   server that runs the front end of the MP Fin system.

            40.   In the days following Davis’s initial improper access to Plaintiffs’ systems, several

   significant events occurred.

            41.   On July 2, 2024, Plaintiffs acquiesced to Saiph’s request and issued a second set of

   credentials to Saiph for use by Lauren Boersig, not Davis.

            42.   On July 3, 2024, Roger Schwartz, an attorney representing Leadenhall, claimed that

   Saiph needed additional information from SuttonPark to validate the remaining/existing collateral

   with respect to Leadenhall’s lending arrangement.

            43.   Also on July 3, 2024, Schwartz requested “Updates and information related to 777

   Re visibility” under the heading “Brickell.” 777 Re referred to 777 Re LTD, an affiliate of 777

   Partners, in the reinsurance business that was part of the Brickell Insurance Group.

            44.   777 Partners refused to provide this information to Leadenhall, as it had no

   relationship to Leadenhall’s collateral that was being audited and Leadenhall had no contractual

   right to it.

            45.   Next, on July 7, 2024, Davis, without permission or authorization, again utilized

   his former credentials to remotely access the laptops assigned to two individuals, beginning with

   Mr. Pasko.

            46.   During this intrusion, Davis specifically targeted Mr. Pasko’s “Microsoft Outlook”

   folder and a file in it named “spasko@777part.com.ost”.

            47.   777 Partners utilizes Outlook 365, a cloud-based email system. An .OST file, which

   stands for “offline storage table,” is a synchronized, archived copy of a users’ entire mailbox,

   including all sent items and received emails, drafts, calendars, and folders containing emails,


                                                  -10-
                                                                                           SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 11 of 29




   automatically created by Outlook 365 on the user’s hard drive. When online, Outlook 365

   constantly updates the .OST with archived copies of the emails being sent or received through

   Outlook 365. When a user is not connected to the internet, Outlook 365 accesses the archived

   mailbox items saved in the .OST file.

          48.     Davis successfully saved a copy of the spasko@777part.com.ost file to another

   folder on Mr. Pasko’s laptop.

          49.     Davis then entered instructions to transfer a copy of that .OST file to a remote

   computer that, upon information and belief, was under his control.

          50.     Davis’s session remained active for approximately 18 minutes after he entered the

   command to make a remote copy of spasko@777part.com.ost.

          51.     Upon information and belief, during those 18 minutes Davis obtained some or all

   of the spasko@777part.com.ost file including stored electronic communications contained therein.

          52.     There is no apparent reason for Davis to have accessed and obtained a copy of the

   .OST file for Mr. Pasko’s Outlook 365 account other than to gather information that would be

   useful to Leadenhall in the Leadenhall Litigation.

          53.     Davis then also accessed the laptop of Jennifer Logee, the chief compliance officer

   of the Brickell Insurance Group, who handles contract compliance with respect to asset purchases

   and dispositions. Ms. Logee had also performed work related to 777 Re, the company about which

   Leadenhall demanded “visibility” just four days earlier.

          54.     During this intrusion, Davis accessed the directory of files contained on Ms.

   Logee’s laptop, as well as certain specific file folders on the laptop.




                                                    -11-
                                                                                         SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 12 of 29




          55.     Davis also accessed the One Drive-based storage account assigned to Ms. Logee in

   which he obtained information about the matters on which Ms. Logee had worked and documents

   saved to folders in One Drive.

          56.     Notably, through this access to Ms. Logee’s individual laptop, Davis also exploited

   his knowledge of Plaintiffs’ computer systems and their vulnerabilities to gain access to 777

   Partners’ entire network environment.

          57.     These intrusions on July 7th into laptops occurred only one day before an important

   hearing was held in the Leadenhall Litigation.

          58.     Between August 2, 2024 and August 9, 2024, someone using the credentials

   assigned to Saiph for use by Lauren Boersig accessed the MP Fin System on scores of occasions.

   User logs reflect that information was altered by either “updates” or “inserts” to the data stored on

   the MP Fin system adversely affecting the useability, reliability and integrity of such data.

          59.     On August 7, 2024, in an email to Kosinski on which Davis was copied at the

   address “ndavis@saiphllc.com”, Plaintiffs’ current head of IT warned Kosinski “You shouldn’t be

   sharing credentials with others.”

          60.     On August 9, 2024, Davis again improperly accessed a variety of Plaintiffs’

   systems, wrongfully using his former 777 Partners’ credentials.

          61.     First, Davis once more accessed the front end of the MP Fin system, viewing and

   seemingly editing data residing in the system.

          62.     Second, Davis accessed the web server that runs the back-end database of the MP

   Fin System.

          63.     Third, Davis twice accessed the virtual network of a 777 Partners subsidiary.




                                                    -12-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 13 of 29




          64.     Fourth, Davis accessed a file server containing accounting and executive data

   belonging to 777 Partners and several of its affiliated companies.

          65.     Fifth, Davis accessed the computer records of a former 777 Partners’ affiliate to

   access a SAP database that contained financial data unrelated to Leadenhall’s collateral audit.

          66.     During each of these August 9th intrusions, Davis further set up local administrator

   accounts in each of these systems, giving him administrator level control over the systems.

          67.     Davis also accessed the MP Fin system using the credentials that had been provided

   to Saiph solely for Ms. Boersig’s use in accessing SuttonPark’s systems. Davis’ unauthorized

   access is confirmed by reference to the IP address affiliated with the intrusion. The IP address was

   routed to an area in Boca Raton, Florida, where Davis is known to work and reside. If Ms. Boersig

   was using her own credentials, the IP address would have reflected an address in New York where

   she is known to work and reside.

          68.     One of these August 9, 2024 intrusions caused a system alert, which 777 Partners’

   current head of IT received, notifying him of suspicious activity and access into the network, and

   he immediately confronted Davis, who falsely denied his involvement.

          69.     Accordingly, Plaintiffs engaged a forensic cyber investigator and began an

   investigation into this suspicious activity. That investigation then uncovered the unauthorized and

   improper intrusions previously alleged, as well as digital forensic evidence firmly supporting the

   conclusion that these intrusions were attributable to Saiph, including at least one use of Ms.

   Boersig’s credentials on August 9, 2024:

                         For all but the intrusions involving Ms. Boersig’s credentials, access
                          credentials issued to Davis during his employment with 777 Partners were
                          utilized.




                                                  -13-
                                                                                           SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 14 of 29




                         After logging in with Davis’s credentials, two-factor authentication was
                          necessary in order to access the systems, which in each case involved a text
                          message being sent to a cellular telephone registered to Davis.

                         The remote access application used to perpetuate these intrusions would
                          require specific and detailed knowledge of the Plaintiffs’ systems and
                          related software, such as that possessed by Davis.

                         The first intrusion on June 28 came from the same IP address and IP address
                          location used by Davis to log in when working from home while an
                          employee of 777 Partners, and subsequent intrusions were made from IP
                          addresses located where Davis is known to reside and work.

                         The intrusion utilizing Ms. Boersig’s credentials is attributable to Davis
                          because it came from the same IP address and location used in connection
                          with several of the prior intrusions that utilized Davis’s credentials and
                          cellular telephone for two-factor authentication, whereas Ms. Boersig is
                          known to reside and work in a different region of the country.

          70.     As of September 30, 2024, Plaintiffs had incurred approximately $56,000 in fees

   for the forensic investigation.

          71.     In addition to the forensic investigation, Shawn Taheri, Plaintiffs’ current head of

   IT, has devoted dozens of hours addressing Defendants’ unauthorized intrusions into Plaintiffs’

   networks.

          72.     By letters dated August 20, 2024 and August 30, 2024, Plaintiffs’ counsel notified

   Leadenhall and Saiph respectively about the illegal intrusion by a Saiph employee into Plaintiffs’

   network.

          73.     On August 23, 2024, Leadenhall’s counsel wrote in response:

                  Indeed, a restriction requiring two individuals to audit thousands of
                  collateral files and all financial records associated with the Borrower’s
                  business without help from a team would frustrate Leadenhall’s ability to
                  conduct such an audit. ... If your clients would prefer to provide separate
                  credentials for every member of the Saiph team working on the audit, please
                  see that they do so promptly so that Saiph can continue its work.

                          Based on the information you have provided, there is no indication
                  that Saiph’s access to your clients’ systems was unauthorized, and your
                  clients’ continued efforts to obstruct Leadenhall’s ability to conduct the
                                                  -14-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 15 of 29




                  audit constitute an independent breach of their obligations under the [credit
                  facility], with respect to which Leadenhall reserves all rights and remedies.
                  In the absence of any evidence to the contrary, Leadenhall does not intend
                  to designate a different agent to conduct its audit, and we will take the
                  appropriate actions to enforce Leadenhall’s right to have Saiph
                  complete its work.

   (Emphasis added.)

          74.     Curiously, while Leadenhall was demanding that access be restored in August

   2024, it now claims that the vast majority of the records that Saiph needed for the audit were

   collected by June 21, 2024. Leadenhall has not explained or attempted to justify why it insisted on

   Saiph’s access to Plaintiffs’ systems when the information for the authorized audit had been

   already obtained months earlier.

          75.     Not content with merely virtually breaking into Plaintiffs’ computer systems, on

   September 5, 2024, Davis illegally entered SuttonPark’s offices to engage in further criminal

   misconduct. Surveillance footage from that night shows that after entering the offices, Davis went

   to the office of a former executive whom he knew possessed physical keys for various locks

   throughout SuttonPark’s offices where he retrieved keys including the key to Taheri’s desk.

          76.     On other footage Davis can be seen filling the two large bags with what is now

   known to be laptops belonging to SuttonPark, before departing with the stolen laptops and other

   equipment.

          77.     Certain screenshots from this footage showing Davis in SuttonPark’s offices with

   a duffle bag, using a key to enter the server room and leaving that room with computer equipment

   (namely a laptop docking station) are reproduced below:




                                                  -15-
                                                                                          SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 16 of 29




                                       -16-
                                                                     SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 17 of 29




          78.     Davis can also be seen in video footage searching under and around desks. Upon

   information and belief, he was trying to find additional laptop docking stations to take.




                                                  -17-
                                                                                           SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 18 of 29




            79.   During this time Davis also attempted to disrupt the internet connection needed for

   the security cameras to record, but only ended up disabling camera 6 and was unsuccessful as to

   six other cameras.

            80.   Moreover, on September 11, 2024, Saiph sent correspondence to counsel for

   Plaintiffs, acknowledging in writing that Davis had entered SuttonPark’s offices and had taken

   equipment from the premises.

            81.   Intriguingly, and perhaps in an effort to obscure the involvement of Leadenhall in

   the alleged misconduct it had inadvertently revealed, Saiph’s initial letter to this effect referenced

   Leadenhall in the subject line, before being substituted by a second such letter that was identical

   to first, but for the removal of the reference to Leadenhall.

            82.   Leadenhall has since claimed that Davis’s actions resulted from his anger over a

   payment dispute with Plaintiffs.

            83.   Upon information and belief, no one at Plaintiffs or their affiliates is aware of any

   alleged payment dispute with Davis.

            84.   In the months that Ratner, Shapiro and Howard have been in control of Plaintiffs’

   business operations, they have not received any communication from Davis or anyone acting on

   his behalf concerning an alleged payment dispute.

            85.   On November 4, 2024, Saiph and Kosinski advised that they were in possession of

   files belonging to Plaintiffs that they located on devices that Davis had used while working with

   Saiph.

            86.   It appears from the naming protocol utilized that the files in Saiph’s and Kosinski's

   possession include back-up files of the Plaintiffs’ entire MP Fin system consisting of tens of

   thousands of receivables that were owned and/or serviced by SuttonPark affiliates.


                                                   -18-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 19 of 29




           87.    These files are proprietary, confidential, contain PPI, and are beyond the scope of

   any information needed by Defendants to conduct the Leadenhall audit but contain information

   that Plaintiffs refused to provide to Leadenhall.

           88.    Accordingly, it is reasonable to infer that Davis, Kosinski and/or Saiph provided

   these files to Leadenhall to provide it an advantage in the Leadenhall Litigation, pending in the

   SDNY.

           89.    Upon information and belief, these files were obtained by Davis using credentials

   he was not authorized to use.

           90.    On the first business day of each month, one of Plaintiffs’ employees manually

   creates a Zip file containing a back-up copy of the entire MP Fin system for the preceding month.

           91.    The naming protocol for this file is “YYYYMM-MPFin”, with the MM being the

   numerical representation of the preceding month.

           92.    The only electronic files relating to collateral not included in this Zip file are the

   underlying documents for the individual transactions that are summarized in the MP Fin system

   database.

           93.    Once created, the Zip file is manually uploaded to an FTP site to satisfy contractual

   requirements so that a backup servicer has current data to take over servicing if necessary.

           94.    Two of the files that have been identified by Saiph and Kosinski as belonging to

   Plaintiffs are named 202405-MPFin.zip and 202408-MPFin.zip.

           95.    While Plaintiffs have not seen the contents of those files yet, Plaintiffs believe that

   they are the backup files containing all of the MP Fin data as of May 31, 2024 and August 31,

   2024 respectively.




                                                   -19-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 20 of 29




          96.     Davis and/or Saiph could have only obtained such files from Plaintiffs’ network or

   the FTP site, neither of which they were authorized to access.

          97.     The file named 202405-MPFin.zip has a created date of 8/22/2024, which appears

   to be the date that Davis downloaded it onto the Saiph computer on which it was “discovered”,

   and it was apparently located in a folder called “\Users\NDavis\Saiph, LLC\Saiph Holdco -

   Documents\Information Technology\Clear\SQL DB\”.

          98.     The file named 202408-MPFin.zip was located in “\Work\OldFinServ\” and was

   created, last modified and last accessed on September 5, 2024, according to the data provided to

   Plaintiffs by Saiph.

          99.     Based on: (i) Leadenhall’s aggressive actions and litigation tactics against Plaintiffs

   and their affiliates in the Leadenhall Litigation; (ii) the targeted access to and instructions to

   transfer the Outlook 365 file saved on Mr. Pasko’s laptop; (iii) the targeting of Logee’s laptop and

   One Drive where information being sought by Leadenhall was likely to have been saved; (iv) the

   timing of at least one intrusion in occurring just prior to an important hearing in the Leadenhall

   Litigation; (v) Leadenhall’s insistence on retaining Saiph specifically, which possessed significant

   proprietary knowledge about Plaintiffs’ operations and computer systems, through its founder,

   Kosinski, and employee, in spite of Plaintiffs’ vigorous objections; (vi) the agency relationships

   between Leadenhall and Saiph, Kosinski, and Davis; (vii) Leadenhall’s inconsistent claims about

   when Saiph had finished collecting information on its behalf; (viii) the claim concerning a non-

   existent payment dispute; and (ix) Saiph’s inadvertent acknowledgment of Leadenhall’s

   relationship to these intrusions, it is reasonable to infer that the actions of Saiph and Davis were

   known to and directed by Leadenhall and were intended to benefit it in the Leadenhall Litigation.




                                                   -20-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 21 of 29




                                        CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
           (Computer Fraud and Abuse Act, 18 U.S.C. § 1030, Against All Defendants)

          100.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          101.    On repeated occasions, Davis intentionally accessed Plaintiffs’ computer systems,

   which are used in interstate commerce, without permission or authority to do so.

          102.    In the course of this access, Davis, Kosinksi, and/or Saiph obtained and altered

   extensive confidential and proprietary data that is contained in these computer systems.

          103.    It is reasonable to infer that Davis, Kosinski, and Saiph provided the information

   from Plaintiffs’ systems to Leadenhall.

          104.    As a result of this unauthorized access, Plaintiffs have suffered losses aggregating

   at least $55,000 in value during a one-year period, including in personnel resources, and the cost

   of engaging professional third parties in connection with the investigation and remediation of the

   consequences of these intrusions.

          105.    Saiph and Kosinski are liable on this claim because, upon information and belief,

   they implicitly or explicitly directed, encouraged, induced, benefitted from and/or conspired with

   Davis and, alternatively, are liable for the actions of their employee/agent Davis, pursuant to the

   doctrine of respondeat superior.

          106.    Leadenhall is liable on this claim because, upon information and belief, it directed,

   encouraged, induced, and/or conspired with Saiph, Kosinski, and/or Davis, or attempted to do so,

   and, alternatively, is liable for the actions of its agents Saiph, Kosinski and/or Davis, because

   accessing and reviewing Plaintiffs’ computer systems is within the scope of Saiph’s

   responsibilities and authority from Leadenhall, and because these intrusions were made with the

                                                    -21-
                                                                                           SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 22 of 29




   knowledge of and for the benefit of Leadenhall. Indeed, the facts and surrounding circumstances

   strongly suggest that the misconduct was done at Leadenhall’s direction.

           107.    By reason of the foregoing, Plaintiffs have suffered damages, including those

   caused by Defendants’ unauthorized alterations to Plaintiffs’ systems, including the “updates” or

   “inserts” to data stored on Plaintiffs’ MP Fin system, which has adversely affected the useability,

   reliability and integrity of Plaintiffs’ systems for which all Defendants are liable, in an amount to

   be proven at trial (but in no event less than $55,000), plus interest, attorneys’ fees, and costs as

   appropriate.

           108.    By reason of the foregoing, Defendants have violated Sections 1030(a)(2)(C),

   (a)(5)(C) and (b) of the CFAA.

                                   SECOND CLAIM FOR RELIEF
                                 (Conversion Against All Defendants)

           109.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

           110.    Davis interfered with Plaintiffs’ possession and dominion over their property by:

   (i) intentionally and without permission accessing Plaintiffs’ computer systems to obtain and alter

   Plaintiffs’ confidential and proprietary business records and other information; and (ii)

   intentionally taking certain laptops containing confidential and proprietary information owned by

   Plaintiffs without their permission.

           111.    By reason of the foregoing, Davis, intentionally and without authority, assumed or

   exercised control over Plaintiffs’ property, in derogation of Plaintiffs’ possessory rights or interest

   in their property.

           112.    Saiph and Kosinski are liable on this claim for the actions of their employee/agent

   Davis, pursuant to the doctrine of respondeat superior.

                                                    -22-
                                                                                             SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 23 of 29




          113.    Leadenhall is liable on this claim for the actions of its agents, Saiph, Kosinski, and

   Davis, because, upon information and belief, the misconduct was committed with the knowledge

   of and at the behest of Leadenhall.

          114.    By reason of the foregoing, Plaintiffs have suffered damages for which all

   defendants are liable, in an amount to be proven at trial.

                                   THIRD CLAIM FOR RELIEF
                            (Replevin Against Davis, Saiph and Kosinski)

          115.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          116.    Davis has wrongfully detained Plaintiffs’ property by intentionally taking certain

   laptops and data owned by Plaintiffs without their permission.

          117.    The value of the wrongfully detained computer equipment is at least $5,600 and is

   likely being held by Davis at his residence or Saiph’s offices.

          118.    Plaintiffs are the proper owners of the property. The property has not been taken

   for any tax, assessment, or fine pursuant to law. Nor has the property been taken under an execution

   or attachment against Plaintiffs’ property.

          119.    Upon information and belief, Saiph and Kosinski are liable on this claim for the

   actions of their employee Davis, pursuant to the doctrine of respondeat superior.

                                  FOURTH CLAIM FOR RELIEF
                            (Trespass to Chattels Against All Defendants)

          120.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          121.    Davis interfered with Plaintiffs’ use and enjoyment of their property by

   intentionally taking certain laptops owned by Plaintiffs without their permission.


                                                    -23-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 24 of 29




           122.    By reason of the foregoing, Davis, intentionally and without justification or

   consent, physically interfered with Plaintiffs’ use of their property, caused harm to the physical

   condition, quality, or value of the property, and deprived Plaintiffs’ of the use of their property for

   a substantial time.

           123.    Saiph and Kosinski are liable on this claim for the actions of their employee Davis,

   pursuant to the doctrine of respondeat superior.

           124.    Leadenhall is liable on this claim for the actions of its agents, Saiph, Kosinski, and

   Davis, because, upon information and belief, the misconduct was committed with the knowledge

   of and at the behest of Leadenhall.

           125.    By reason of the foregoing, Plaintiffs have suffered damages for which all

   Defendants are liable, in an amount to be proven at trial, plus interest, and costs as appropriate, as

   well as additional equitable and injunctive relief as set forth below.

                                     FIFTH CLAIM FOR RELIEF
                               (Civil Conspiracy Against All Defendants)

           126.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

           127.    Saiph, Kosinski, and their employee, Davis, are the agents of Leadenhall, and as

   such are directed by, and act with the knowledge of its principal in connection with its consulting

   services related to Plaintiffs.

           128.    Accordingly, Defendants willfully, intentionally, and knowingly agreed to further

   a shared plan, which included gaining unauthorized access to Plaintiffs’ computer systems.

           129.    Upon information and belief, each of the Defendants actively participated in the

   shared civil conspiracy as described above, and therefore each Defendant is responsible for each

   tortious and otherwise unlawful action of any co-conspirator – in particular, the actions of Davis

                                                    -24-
                                                                                             SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 25 of 29




   in unlawfully accessing Plaintiffs’ computer systems without authority or permission, and in

   stealing laptop computers from SuttonPark’s offices.

          130.     By reason of the foregoing, Plaintiffs have suffered damages for which all

   Defendants are liable, in an amount to be proven at trial, plus interest, and costs as appropriate, as

   well as additional equitable and injunctive relief as set forth below.

                                 SIXTH CLAIM FOR RELIEF
            (Aiding and Abetting Against Defendants Leadenhall, Saiph, and Kosinski)

          131.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          132.    As previously alleged, Davis perpetrated a variety of torts against Plaintiffs.

          133.    Upon information and belief, Leadenhall substantially assisted Davis’s tortious

   conduct by engaging him and his employer, Saiph, to perform the collateral audit, without which

   Saiph, and by extension Davis, would not have had access to the log in credentials for SuttonPark’s

   systems, which were provided to Leadenhall pursuant to its purported audit rights. Moreover, the

   facts and circumstances strongly indicate that Leadenhall directed the actions of Davis.

          134.    Saiph and Kosinski substantially assisted Davis’s tortious conduct by providing

   him with the log in credentials they had received from SuttonPark, allowing him to access

   SuttonPark’s systems.

          135.    Upon information and belief, at all relevant times, Leadenhall and Saiph were

   aware of their roles in enabling Davis’s tortious conduct.

          136.    By reason of the foregoing, Plaintiffs have suffered damages for which Leadenhall,

   Saiph, and Kosinski are liable, in an amount to be proven at trial, plus interest, and costs as

   appropriate, as well as additional equitable and injunctive relief as set forth below.



                                                    -25-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 26 of 29




                            SEVENTH CLAIM FOR RELIEF
      (Florida Computer Abuse and Data Recovery Act, §668.801, et seq., Fla. Stat. (2024),
                                 Against All Defendants)

          137.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          138.    On repeated occasions, Davis intentionally accessed Plaintiffs’ computer systems,

   which are protected by passwords and other security measures intended to restrict access, without

   the authority to do so.

          139.    Upon information and belief, in the course of this access, Davis obtained extensive

   confidential and proprietary data belonging to Plaintiffs that is contained in these computer

   systems.

          140.    As a result of this unauthorized access, Plaintiffs have or will have to expend tens

   of thousands of dollars in investigating and remediating the consequences of these intrusions.

          141.    Saiph and Kosinski are liable on this claim because, upon information and belief,

   they directed, encouraged and/or induced Davis and, alternatively, are liable for the actions of their

   employee Davis, pursuant to the doctrine of respondeat superior.

          142.    Leadenhall is liable on this claim because, upon information and belief, it directed,

   encouraged and/or induced Saiph, Kosinski, and/ or Davis and, alternatively, is liable for the

   actions of its agents, Saiph, Kosinski, and Davis, because accessing and reviewing Plaintiffs’

   computer systems is within the scope of Saiph’s responsibilities and authority from Leadenhall,

   and because these intrusions were made with the knowledge of and at the behest of Leadenhall.

   Indeed, the facts and surrounding circumstances strongly suggest that the misconduct was done at

   Leadenhall’s direction.




                                                    -26-
                                                                                            SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 27 of 29




          143.    By reason of the foregoing, Plaintiffs have suffered damages for which all

   Defendants are liable, in an amount to be proven at trial, plus interest, attorneys’ fees, and costs as

   appropriate, as well as additional equitable and injunctive relief as set forth below.

                             EIGHTH CLAIM FOR RELIEF
         (Stored Communications Act, 18 U.S.C. § 2701, et seq., Against All Defendants)

          144.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 99

   with the same force and effect as if fully set forth herein.

          145.    On July 7, 2024, Davis intentionally accessed and attempted to copy and/or transfer

   information in an archive file created by Outlook 365 on Mr. Pasko’s laptop, a facility through

   which an electronic communication service is provided, without authorization to do so.

          146.    Upon information and belief, in the course of this access, Davis obtained the

   electronic communications of Mr. Pasko while in electronic storage in spasko@777part.com.ost.

          147.    As a result of this unauthorized access, Plaintiffs have or will have to expend tens

   of thousands of dollars in investigating and remediating the consequences of this intrusion.

          148.    Saiph and Kosinski are liable on this claim because, upon information and belief,

   they directed, encouraged and/or induced Davis and, alternatively, are liable for the actions of their

   employee Davis, pursuant to the doctrine of respondeat superior.

          149.    Leadenhall is liable on this claim because, upon information and belief, it directed,

   encouraged and/or induced Saiph, Kosinski, and/ or Davis and, alternatively, is liable for the

   actions of its agents, Saiph, Kosinski, and Davis, because accessing and reviewing Plaintiffs’

   computer systems is within the scope of Saiph’s responsibilities and authority from Leadenhall,

   and because these intrusions were made with the knowledge of and at the behest of Leadenhall.

   Indeed, the facts and surrounding circumstances strongly suggest that the misconduct was done at

   Leadenhall’s direction.

                                                    -27-
                                                                                             SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 28 of 29




          150.    By reason of the foregoing, Plaintiffs have suffered damages for which all

   Defendants are liable, in an amount to be proven at trial, plus interest, attorneys’ fees, and costs as

   appropriate, as well as additional equitable and injunctive relief as set forth below.

                                        PRAYER FOR RELIEF

          151.    Plaintiffs pray for the following relief:

                  a) An award of compensatory damages caused by, inter alia, Defendants
                     alterations to Plaintiffs’ systems and data in an amount to be determined but in
                     no event less than $55,000;

                  b) An award against Defendants for the losses Plaintiffs have or will have to
                     expend for investigating and remediating the consequences of Defendants’
                     unauthorized intrusions in an amount to be determined but in no event less than
                     $55,000;

                  c) An order mandating that Defendants return the stolen laptops, data and
                     information taken from Plaintiffs;

                  d) A writ of replevin to recover the stolen laptops, data and information;

                  e) An award of pre-judgment and post-judgment interest;

                  f) An award of all reasonable fees, costs, and expenses, including attorneys’ fees;

                  g) Punitive damages in an amount to be determined at trial;

                  h) Preliminary and permanent injunctive relief to prevent Defendants from
                     continuing to possess, access, use or disseminate data and information
                     misappropriated from Plaintiffs; and

                  i) An award of such other and further relief as the Court deems just and proper.




                                                    -28-
                                                                                             SGR/71972169.4
Case 9:24-cv-81143-DMM Document 68 Entered on FLSD Docket 11/14/2024 Page 29 of 29




                                 DEMAND FOR TRIAL BY JURY

         Plaintiffs demand a trial by jury of all claims so triable.

   Dated: November 14, 2024

                                                 Respectfully submitted,

                                                 SMITH, GAMBRELL & RUSSELL, LLP



                                                 ________________________________________
                                                 John G. McCarthy (admitted pro hac vice)
                                                 David A. Pellegrino (admitted pro hac vice)
                                                 1301 Avenue of the Americas, 21st Floor
                                                 New York, New York 10019
                                                 Telephone: (212) 907-9700
                                                 Facsimile: (212) 907-9800
                                                 Primary Email: Jmccarthy@sgrlaw.com
                                                 Primary Email: Dpellegrino@sgrlaw.com

                                                 Attorneys for Plaintiffs 777 Partners LLC and
                                                 SuttonPark Capital LLC

                                                     - and –

                                                 GUNSTER YOAKLEY & STEWART P.A.

                                                 George Lemieux
                                                 Florida Bar No. 16403
                                                 Brian M. McPherson
                                                 Florida Bar No. 735541
                                                 777 S. Flagler Dr.
                                                 East Tower, Suite 500
                                                 West Palm Beach, FL33401
                                                 Telephone: (561) 655-1980
                                                 Facsimile: (561) 655-5677
                                                 Primary Email: Glemieux@gunster.com
                                                 Primary Email: Bmcpherson@gunster.com




                                                  -29-
                                                                                        SGR/71972169.4
